IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF NORTH CAROLINA

MARION REED, Individually and as )
Administrator of the Estate of Barbara C. )
Reed, JENNIFER EDSON, and RANDY )
REED, )
)
ae )

Plaintiffs, ) CIVIL ACTION NO.
)
V. )
)
)
REICHHOLD LIQUIDATION, INC. )
doing business as Liquidating Reichhold, )
Inc., )
)

Defendant.

PLAINTIFFS’ ORIGINAL COMPLAINT AND JURY DEMAND
TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT:

This is a lawsuit for damages from the personal injuries to Barbara Reed, Marion Reed,
Jennifer Edson, and Randy Reed from exposure to asbestos sustained by Barbara Reed from 1972
to 1976. Ms. Reed was diagnosed with Mesothelioma on May 6, 2016 and died of Mesothelioma
on August 21, 2017. Plaintiffs complain of Defendant and for causes of action would show the
Court and Jury the following:

PARTIES

1. Plaintiff Marion Reed is a resident of Iowa. Marion Reed appears in his

individual capacity and as the Administrator of the Estate of Barbara C. Reed. Barbara Reed

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and Mr. Reed were husband and wife at the time of Ms. Reed’s death and had been married for
41 years.

A Plaintiff Jennifer Edson is the adult daughter of Barbara and Marion Reed and
is a resident of Iowa.

3. Plaintiff Randy Reed is the adult son of Barbara and Marion Reed and is a
resident of Florida.

4. Defendant Reichhold Liquidation, Inc. doing business as Liquidating Reichhold,
Inc. (hereinafter Reichhold) is a Delaware corporation and its principal place of business is in
North Carolina. Defendant may be served via Roger Willis at Reichhold Liquidation Inc., 1035
Swabia Court, Durham, North Carolina 27705.

5. Defendant and its predecessors were engaged in the manufacture, sale, design,
distribution, and use of asbestos-containing products or otherwise placed such asbestos-
containing products into the stream of commerce where they reached Barbara Reed in a form
intended and foreseen by Defendant.

JURISDICTION

6. The court has subject matter jurisdiction over the lawsuit under 28 U.S.C.

§1332(a)(1) because Plaintiffs and Defendant are citizens of different states and the amount in

controversy exceeds $75,000, excluding interest and costs.

7. This Court has personal jurisdiction over Defendant because it is a North Carolina
corporation.
VENUE
8. Defendant’s principal place of business is in the Middle District of North Carolina,

therefore venue is proper in this District.

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ALLEGATIONS

9. Barbara Reed sustained regular, frequent, and intense exposure to Defendant’s
asbestos-containing materials while working in the Plastic Mold Cleaning Department and the
Plastics Molding Department at the Square D manufacturing plant in Cedar Rapids, lowa from
1972 to 1976.

10. Barbara Reed encountered Defendant’s asbestos-containing products and materials
and the dust they released into her breathing zone on a daily basis during the eight hour or longer
shifts at the Square D plant. She worked on average five days per week for an approximately four
and a half year period between March 1972 and August 1976.

A. The Plastics Mold Cleaning Department: 1972-1973

11. For approximately the first year and a half from when she began work in March
1972, Ms. Reed worked in the Plastics Mold Cleaning Department at the Square D plant in Cedar
Rapids, Iowa. The department was also referred to as the Sandblasting Department. Ms. Reed’s
job was to place recently molded asbestos-containing plastic parts into a sandblasting machine.
The machine operated a Lazy Susan type of conveyer belt that rotated the parts through a
sandblasting process to remove rough edges and excess plastic that remained on the molded parts,
called “flash”, from the newly molded asbestos-containing parts using sand or other similar
abrasives.

12. After the parts completed the sandblasting cycle, Ms. Reed picked the parts up by
hand and placed them under compressed air to blow out the sand or other remaining abrasive dust
and plastic particles loosened by the sandblasting process. The compressed air came out of fixed
valves that remained on at all times adjacent to the sandblasting conveyer belt machine because

parts Ms. Reed had to continuously clean parts as she removed them from the sandblasting

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conveyer belt.

13. The dust and particles blown out by the compressed air contained respirable
asbestos fibers from Defendant’s asbestos-containing molding compounds.

14. The sandblasting ran continuously while the bins of parts rotated through the
cleaning process. The asbestos-laden dust generated from the process continuously flowed out of
the opening of the machine where Ms. Reed was standing into the immediate ambient air she was
breathing during the entire eight hour shift that she worked at the sandblasting station.

15. Jt was not uncommon for the sandblasting machine to become clogged at which
time it would expel large amounts of dust into the ambient air because of the backup. When this
occurred, it was necessary to turn off the machine while maintenance dislodged the clog and
restored the machine to operation. The process of dislodging the clog released more of the
accumulated dust into the air Ms. Reed was breathing.

16. After Ms. Reed removed the products from the sandblasting machine and moved
the parts under the compressed air, Ms. Reed then had to file any remaining flash or rough edges
to further refine the product to its finished state.

17. The filing off of this remaining flash and rough edges released additional respirable
asbestos containing material and asbestos fibers into Ms. Reed’s immediate breathing zone.

18. Lastly, Ms. Reed was required to hand paint the on/off indentations on the plastic
parts in white paint. Fans positioned at each end of the painting table continuously blew on the
freshly painted parts to expedite the drying process. However, this continuous air movement
further circulated the asbestos containing dust that was present in the environment into the ambient
air Barbara Reed was breathing.

19. At the end of each shift, Ms. Reed was required to use compressed air to blow off

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the dust from the work surfaces and equipment and to sweep up the dust that had accumulated on
the floor around her work station from the combination of sandblasting, compressed air cleaning,
and sweeping. Asbestos fibers are aerodynamic and the blowing and the sweeping of the dust
launched what asbestos containing dust had settled to the floor back into the ambient air and Ms.
Reed’s breathing zone where she continued to inhale the asbestos laden dust on an ongoing basis.

20. Barbara Reed’s inhalation of the asbestos dust released from all these work
processes was a substantial contributing factor in the development of her mesothelioma.

21. | The sustained and regular circulation of asbestos dust from the continuously
operating compressed air nozzles and fans and the sand blasting machine dispersed asbestos laden
air into Barbara Reed’s breathing zone. Her inhalation of that asbestos dust during her eight hour
shifts five days a week over a four year period was a substantial contributing factor in the
development of her mesothelioma.

B. The Plastic Molding Department: 1973-1976

22. Beginning sometime in the latter half of 1973 to August 1976, Ms. Reed worked in
the Plastics Molding Department where she fabricated plastic molded parts for electrical circuit
breakers.

23.  Atthe time of the Square D plant’s peak performance, there were approximately 55
automatic presses and 18 semi-automatic or manual presses. Automatic, semi-automatic or manual
hydraulic presses operated in this department on a continuous basis during her work shift making
various circuit breaker parts. The molding department was a story and a half high.

24.  Defendant’s asbestos-containing molding compounds were used in the presses.

C. The Automatic Presses

25. The automatic presses ran on a cycle, and would do so throughout an entire shift.

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The automatic presses were large and varied in size, weighing from 20 tons to approximately 300
tons and were roughly four feet wide by seven or eight feet tall.

26. A forklift would lift a full pallet of molding compound ten or 12 feet off the ground,
and a plant worker, sometimes called a “set-up man”, would cut the sacks, dumping the compound
into a press’s hopper. Twenty-eight presses were filled that way each work shift and were filled
multiple times throughout a shift.

27. The process of filling a press with molding compound created airborne dust. This
dust would remain in the air for several hours after each round of compound was dumped into the
presses’ hoppers. Many fans were located throughout the molding department that continually
circulated this asbestos laden dust into the breathing zones of workers including Barbara Reed.

D. The Manual Presses

28. The manual presses required an employee — usually a female plant employee — to
open and close the presses to remove completed parts and refill the compound material. Employees
would not have to manually open and close semi-automatic presses, as those also operated on a
timer; but the workers would have to remove the finished part, blow off any residue (“flash”), and
refill the molding compound to reset the machine.

29. Ms. Reed’s job was to open large Gaylord boxes of dry asbestos-containing plastic
molding compound material, open the plastic liner inside the box and then remove blocks of
asbestos-containing plastic molding compound. The opening of the boxes released asbestos
containing dust into the ambient air Ms. Reed was breathing.

30. The material came in various forms but at times was in the shape of briquettes. Ms.
Reed had to measure the precise amount of material needed to fill a mold by weight. Individual

blocks or briquettes were never the exact amount of material needed for a particular mold and thus,

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Ms. Reed had to break the blocks or briquettes in order to obtain additional material to reach the
correct weight for the particular part she was molding that shift.

31. Each time Ms. Reed broke a piece of the molding compound material, the breaking
process released visible dust as well as microscopic asbestos particles and fibers that were a part
of the dust into the air in Ms. Reed’s breathing zone and she breathed the dust.

32. Once she determined the correct amount by weight, Ms. Reed placed that asbestos-
containing plastic molding material into the mold.

33. While the machine was heating and compressing the plastic part to mold it into the
product, Ms. Reed was required to quickly file off prominently visible flash and the roughest edges
of the molded part that she had removed from the mold before placing the part into the finished
product bin.

34. Those products were then taken to the sandblasting department where they
underwent further finishing in a manner consistent with Ms. Reed’s first assignment at the Square
D plant described above.

35. In addition to the plastic molding compounds Ms. Reed handled herself, larger
automated machines were operating in the Plastic Molding Department adjacent to where Ms.
Reed worked.

36. In addition to the asbestos released into the ambient air during Barbara Reed’s shift,
the plant operated around the clock with three full time shifts. There were approximately eight to
12 other women working the manual presses during Barbara Reed’s shift whose work activities
released similar amounts of asbestos-containing dust into the ambient air.

37. The processes of handling asbestos-containing molding compounds by individuals

loading small individual manually operated presses described above and workers filling the

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hoppers of the automated machines continued during the all three shifts. These processes released
asbestos laden dust into the ambient air on a continuous basis during a twenty-four hour period so
the air Barbara Reed was breathing was constantly filled with respirable asbestos fibers.

E. The Compressed Air and Sweeping of Asbestos Dust

38. Compressed air nozzles continually operated and the forced air from the fans and
compressed air nozzles blew the dust around that entire area. This dust was circulated further when
the presses were opened at the end of a cycle and the machines were cleaned off with air hoses and
brooms. Significant amounts of dust would accumulate in the molding department from the
operation and cleaning of the presses. That dust often collected on pipes, beams, and light fixtures
throughout that department’s worksite.

39. During Barbara Reed’s shifts, the dust was so prevalent that clothing would be
covered with dust from the plastic molding compounds.

40. The asbestos fibers released into the air remained in the ambient air in the plant
because asbestos fibers are aerodynamic. As a result of their aerodynamic properties, they float in
the ambient air for weeks or months or years. Even after the asbestos fibers initially settle on a
surface, these fibers are easily disturbed by movement such as fans, compressed air, sweeping or
other human activity and relaunched into the air where they circulate through the breathing zones
of every person working nearby, including Ms. Reed.

41. Barbara Reed’s inhalation of the asbestos dust released from the handling of
asbestos-containing molding compounds by her and by her coworkers was a substantial
contributing factor in the development of Barbara Reed’s mesothelioma.

F. Barbara Reed’s in-home exposure to asbestos from her work clothes: 1972-1976

42. Ms. Reed wore her own work clothes to work at the plant. Square D did not provide

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any kind of work uniform, coveralls or other protective clothing.

43. The work environment was often hot because of the heat released from the high
temperature presses and caused workers such as Ms. Reed to perspire significantly dampening her
clothing. As a result, substantial asbestos containing dust that filled the ambient air from the work
processes and the insulation contracting work adhered to her damp clothes and person. When
Barbara Reed left the work premises, she carried the asbestos fibers into her car where some were
released and then into her home where the remaining asbestos fibers were released.

44, Once these asbestos fibers were released into her car and home, they remained there
indefinitely causing ongoing exposure to asbestos.

45. Ms. Reed did her own laundry and the process of laundering her clothes involved
brushing them off and shaking them out before placing them into a washing machine. Unknown
to Ms. Reed, that process released additional asbestos fibers into the air she was breathing in her
home, adding to the amount of asbestos she inhaled. Barbara Reed’s inhalation of this asbestos
dust was as substantial contributing factor to her development of mesothelioma.

46. Barbara Reed’s sustained continuous exposure to Defendant’s asbestos-containing
molding compounds while she was in the Square D plant or in her home.

47. She worked approximately five days per week, eight hours per day between March
1972 and August 1976 in the Square D plant.

48. Barbara Reed’s sustained exposure to asbestos containing dust from Defendant’s
asbestos-containing plastic molding compounds virtually every work day.

49. As a worker in the Plastic Mold Cleaning Department, also known as the
Sandblasting department, and then in the Plastic Molding Department, Barbara Reed worked in

close proximity to the airborne asbestos fibers in the air she was breathing during her eight hour

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shift, five days per week, over a four year period.
50. Each of the sources of Barbara Reed’s exposure to asbestos was a substantial
contributing factor to her development of mesothelioma. As a result of her mesothelioma, Plaintiffs

have suffered damages in the following respects.

51. Barbara Reed endured great pain and suffering from the date of her diagnosis until
her death.
52. Barbara Reed’s life expectancy was severely shortened and she was disabled and

unable to continue gainful employment from which she received great mental satisfaction and
substantial economic support.

53. Barbara Reed’s relationships with her husband Marion and her children Jennifer
and Randy were severely compromised and diminished.

54. Barbara Reed incurred substantial medical expenses for the treatment of her
mesothelioma.

COUNT ONE — NEGLIGENCE

55.  Allof the allegations contained in the previous paragraphs are re-alleged herein.

56. The illnesses, disabilities and death of Barbara Reed were a direct and proximate
result of the negligence of Defendant and/or its predecessors-in-interest in that said entities
produced, sold, distributed and/or otherwise put into the stream of commerce asbestos-containing
molding compounds and which Defendant knew, or in the exercise of ordinary care should have
known, would be deleterious and highly harmful to Barbara Reed’s health and well-being.
Defendant was negligent in one, some and/or all of the following respects, among others, the same
being the proximate cause of Barbara Reed’s illnesses, disabilities and death:

(a) In failing to timely and adequately warn Barbara Reed of the dangerous

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herein.

characteristics and serious health hazards associated with exposure to the asbestos
in the asbestos-containing molding compounds;

(b) in failing to place timely and adequate warnings on the containers of asbestos-
containing molding compounds and adequately advising of the dangers to health
from inhaling the dust from the asbestos-containing molding compounds;

(c) in failing to take reasonable precautions or exercise reasonable care to publish,
adopt and enforce a safety plan and/or safe method of handling and using the
asbestos-containing molding compounds described above;

(d) in failing to develop and utilize a substitute material to eliminate asbestos fibers in
the asbestos-containing molding compounds products described above;

(e) in failing to properly design, manufacture or market the asbestos-containing
molding compounds products described above for safe use under conditions
of use that were reasonably anticipated and foreseeable despite knowledge
of the unsafe and dangerous nature of such products;

(f) in failing to properly test the asbestos-containing molding compounds
before they were released for use by persons such as Barbara Reed;

(g) in failing to recall and/or remove from the stream of commerce the asbestos-
containing molding compounds, despite knowledge of the unsafe and
dangerous nature of such products.

COUNT TWO - STRICT LIABILITY

57. All of the allegations contained in the previous paragraphs are re-alleged

58. Defendant had actual knowledge that its asbestos-containing molding

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compounds were unreasonably dangerous without an adequate warning because of the
defects in design, manufacturing and/or marketing of its asbestos-containing molding
compounds.

59. In addition, by 1972, federal regulations issued by federal agencies
applicable to Defendant’s business activities with regards to asbestos-containing molding
compounds informed Defendant of the risks from inhaling the dust generated by the use
and manipulation posed to workers and other persons who inhaled the asbestos fibers.

60. Defendant’s asbestos-containing molding compounds were the proximate
cause of Barbara Reed’s mesothelioma and subsequent death from the disease. Plaintiffs
would show that the condition of the products and lack of adequate warnings rendered such
products defective in design, manufacture and marketing, making them unreasonably
dangerous for their intended and foreseeable use. Defendant placed such products into the
stream of commerce and they reached Barbara Reed in such defective condition without
substantial change.

61. Defendant should have known, and in fact did know, that workers such as
Barbara Reed would use asbestos-containing molding compounds without inspection for
defects and in fact, Defendant should have known, and in fact did know, persons in Barbara
Reed’s position would not be able to detect such defects. By placing them on the market,
Defendant represented that the asbestos-containing molding compounds were safe for the
job for which they were intended, which must necessarily include safe manipulation and
use for molding products.

62. Barbara Reed was unaware of the hazards and defects in the asbestos-

containing products of Defendant that made them unsafe for the purposes of use and

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manipulation.

63. Barbara Reed and her co-workers utilized the asbestos-containing molding
compounds in a manner which Defendant intended even though Defendant knew that using
the asbestos-containing molding compounds as intended was unreasonably dangerous to
the user.

64. Defendant’s asbestos-containing molding compounds lacked adequate
warnings or had insufficient warnings that rendered them defective and unreasonably
dangerous. Defendant had actual knowledge of the design and intended use of its asbestos-
containing molding compounds as well as actual knowledge that the final product was
unreasonably dangerous without an adequate warning.

COUNT THREE — WRONGFUL DEATH

65. Barbara Reed’s death was the result of Defendant’s reckless conduct.
Barbara Reed’s inhalation of the asbestos dust released from the handling of Defendant’s
asbestos-containing molding compounds by her and by her coworkers was a substantial

contributing factor in the development of Barbara Reed’s mesothelioma.

DAMAGES
70. The conduct of Defendant, as alleged, was a direct, proximate and producing
cause of Barbara Reed’s asbestos-related disease, namely mesothelioma, and subsequent
death, and of the following general and special damages that Plaintiffs have sustained:
a) The hospital, medical, pharmaceutical, and other expenses incurred as a
result of Barbara Reed’s mesothelioma and other related physical

conditions, according to proof;

b) Barbara Reed’s funeral, burial, internment or cremation expenses;

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c) Barbara Reed’s lost income from the time of her illness until her death;

d) the net pecuniary loss the Plaintiffs suffered a result of Barbara Reed’s

debilitating illness, incapacitation and death from mesothelioma had she lived and

continued to work;

e) the economic value of the services that Barbara Reed, as a wife, mother,
and grandmother, had she lived, would have provided to Plaintiffs as
determined by the sound sense and deliberate judgment of the jury, based
on their own observation, experience and knowledge respecting these
matters based on the facts and circumstances of this case;

f) damages for grief, loss of companionship, impairment of the quality of life,
inconvenience, pain and suffering, and emotional distress incurred by
Plaintiffs, from the time of Barbara Reed’s diagnosis to the time of trial, and
into the future, for the maximum amount allowed by law according to proof,
and further increased if justified by clear and convincing evidence therefore.

g) the loss of relationship, love, comfort and consortium that Plaintiffs
would have received from Barbara Reed had she lived;

h) exemplary damages for gross negligence and malice to the extent
allowable by law;

i) for prejudgment interest from the date of the injury through
judgment, and post judgment interest on the judgment at the maximum
rate allowed by law.
JURY DEMAND
71. Plaintiffs respectfully demands that all issues of fact in this case be tried to a
properly impaneled jury and pays the jury fee.
PRAYER
72. Based on the foregoing, Plaintiffs demand judgment against the Defendant
severally, for general damages, special damages, for the costs expended herein, for
prejudgment interest from the date of the injury through judgment, and post-judgment

interest on the judgment at the maximum rate allowed by law, and for such other and further

relief, both at law and in equity, to which Plaintiffs may show themselves justly entitled.

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This 20" day of August, 2018.

Respectfully submitted,
WARD BLACK LAW

/s/Janet Ward Black

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